                    Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 1 of 8

NDFL 245B (Rev. I l/16)     Judgment in a Criminal Case
                            Sheet I



                                       UNITED STATES DISTRICT COURT
                                              Northern District of Florida
                                                                                  )
                    UNITED STATES OF AMERlCA
                                                                                  )
                                                                                        JUDGMENT IN A CRIMINAL CASE.
                                     v.                                           )
                                                                                  )
                                                                                        Case Number: 3: 19cr65-001/MCR
                                                                                  )
                          JAMES A. YOUNG, III                                     )     USM Number: 26490-017
                                                                                  )
                                                                                  )     John Beroset (Retained)
                                                                                  )     Defendant's Attorney
THE DEFENDANT:
�     pleaded guilty to count(s)             One through Five of the Indictment on October 30, 2019

D     pleaded nolo contendere to count(s)
      which was accepted by the court.

D     was found guilty on count(s)
      after a pica of not guilty,

The defendant is adjudicated guilty of these offens�s:

Title & Section                            Nature of Offense                                                      Offense Ended

18 U .s.c. § 1343                          Wire Fraud                                                             June 19, 2014       One
                                                                                                                  June 29, 2014       Two
26 U.S.C. § 7203                           Failure to File Tax Returns                                            October 15, 2013    Three
                                                                                                                  October 15, 2014    Four
                                                                                                                  April 15. 2015      Five

           The defendant is sentenced as provided jn pages 2 through              _8_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D     The defendant has been found not guilty on count(s)

D     Count(s)            ___________
                                    _                           D is O arc dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States atlorney for this district within 30 days-of any change of name, residence,
or mailing address until all fines, restitution, costs, and special· assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                September 25, 2020
                                                                                Date of Imposition of JudRment




                                                                                M. Casey Rodgers, United States District Judge
                                                                               Name and Title of Judge


                                                                               October
                                                                               Date
                                                                                          lk             , 2020
                       Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 2 of 8


NJ)l-lL 245B (Rev. l l/16)     Judgment in a Criminal Case
                               Sheet 2 - Imprisonment

                                                                                                                Judgment -Page __ 2 __ of _   8_
 DEFENDANT:                     JAMES A. YOUNG, III
 CASE NUMBER:                   3: 19cr65-001/MCR

                                                                 IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
              51 months as to Counts One and Two, and 12 months as to Counts Three, Four and Five, with said terms to
              run concurrently, one with the other.

     t8J      The court makes the following recommendations to the Bureau ofPrisons:

              The court recommends to the Bureau of Prisons that the defendant be designated to a federal prison camp for
              confinement near Pensacola, Florida, or as a secondary alternative, the federal prison camp at Maxwell Air Force
              Base in Montgomery, Alabama.

              The comi recommends the defendant's placement into the BOP's Residential Drug Abuse Program. Additionally,
              while awaiting placement into RDAP, the court orders the defendant to complete Drug Education classes and fully
              participate in the BOP's nonresidential drug abuse treatment program. Further, the court.recommends that the
              defendant patiicipate in any cognitive behavioral therapy programming avai lable.


     D        The defendant is remanded to the custody,ofthc United States Marshal.

     D        The defendant shall surrender to the United States Marshal for this district:

              □          at   _ _
                                ______ O a.m.                            Dr.m.        on

              □          as notified by the United States Marshal.

     �        The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:

                         before 12 p.m. noon on              hnuary 4, 202 I
              �          as notified by the United States Marshal.

              D          as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                    to

al                                                              with a certified copy of this judgment.



                                                                                                           UNITED STATES MARSHAL



                                                                                     By
                                                                                                        DEPUTY UNITED STATES MARSHAL
                      Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 3 of 8

NDFL 245B (Rev. l l/16)         Judgment in a Criminal Case
                                Sheet 3 - Supervised Release
                                                                                                                Judgment-Page _3_ of        8
DEFENDANT:                       JAMES A. YOUNG, Ill
CASE NUMBER:                     3: l 9cr65-001/MCR

                                                               SUPERVISED RELEASE
     Upon release from imprisonment, you will be on supervised release for a term of:
   3 years as to Counts One and Two and 1 year as to Counts Three, Four and Five, with said terms to run
concurrently, one with the other.
                                                         MANDATORY CONDITIONS

1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled subst�nce. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                    0 The above drug testing condition is suspended, based on the court's determination that you
                          pose a low risk of future substarice abuse.   (check ifapplicable)

4.           cg)   You must cooperate in the collection of DNA as directed by the probation officer.   (check ifapplicable)

5.           0     You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 1690 I, el seq.) as
                   directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
                   you reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
6.           0     You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                   Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 4 of 8

NDFL 245B (Rev. 11/16)      Judgment in a Criminal Case
                            Sheet 3A -- Supervised Release

                                                                                                     Judgment-Page - �
                                                                                                                     - 4 __ of __8_ _
DEFENDANT:                     JAMES A. YOUNG, III
CASE NUMBER:                   3:19cr65-001/MCR'

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about., and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you arc authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must ansv,rer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or an)'thing about your living
      arrangements (such as the people you live with), you must nOtify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit y6u at any time at your home or elsevvherc, and you must permit the probation officer to
      take any items prohibited by the.conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you v•/Ork or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware ofa change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knO\;vingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tascrs),
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to anOther person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probati'on officer related to the conditions of supervision.




U.S. Probation Office Use Only
                                                        1
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, sec Ove111iew ofProbation and Supervised·
Release CondWons, available at: www.uscourts.gov.


Defendant's Signature                                                                                         Date
                  Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 5 of 8


NDFL 2458 (Rev. 11116)   Judgment in a Criminal Case
                         Sheet Jl)- Supervised Release

                                                                                             ,Judg1nent·-·•Page ·----5_   _._8_
DEFENDANT:                 JAMES A. YOUNG, Ill
CASE NUMBER:               3: l 9cr65-00 l /MCR

                                     SPECIAL. CONDITIONS OF SUPERVISION


 1. You must be evaluated for mental health and referred to treatment as determined necessary through an
    evaluation process. Treatment is not limited to but may include pmticipation in a Cognitive Behavior
    Therapy program. You may be tested for the presence of illegal controlled substances or alcohol at any time
    during the term of supervision.

2. You must not hold any employment associated in any way wi1h financial services industry.

3. Any unpaid restitution balance (Count 1 and Count 2) must be paid in monthly installment payments of not
   less than $500 to commence either wi1hin one month of your release from custody or within one month of
   the sentencing date.

4. You must pay restitution in the amount of $125,107.33 (Counts 3 through 5) to the IRS in monthly
   installment payments of not less than $500.00 per month to commence either within one month of your
   release from custody or within one month of the sentencing date.

5. You must provide the probation officer all requested financial information, both business and personal.

6. You must not incur new credit charges, or open additional lines of credit without the approval of the
   probation officer.

7. You must not transfer of dispose of any asset,        01'   your interest in any asset, without the approval of the
   probation officer.

8. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C,
   § !030(e)(l )), other electronic communications, data storage devices, or media, or office, to a search
   conducted by a United States probation officer. Failure to submit to a search may be grounds for revocation
   of release. You must warn any other occupants that the premises may be subject to searches pursuant to this
   condition. An officer may conduct a search pursuant to this condition only when reas<:mable suspicion exists
   that you have violated a condition of your supervision and that the areas to be searched contain evidence of
   this violation. Any search must be conducted at a reasonable time and in a reasonable manner.
                    Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 6 of 8


NDFL 245B (Rev. l l/16)      Judgment in a Criminal Case
                             Sheet 5 �- Criminal Monetary Penalties
                                                                                                          Judgment -Page _6 __ of                •8
 DEFENDANT:                              JAMES A. YOUNG, III
 CASE NUMBER:                            3:19cr65-001/MCR

                                               CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetaiy penalties under the schedule of payments on Sheet 6.

                            Assessment             JVTA Assessment*                            Restitution
 TOTALS                   $ 500.00             $ 0- none                       $ 0-waived    $402,207.71 (- $75,000 paid) as to Counts 1 & 2
                                                                                             $ 125,107.33 to IRS as to Counts 3-5



□         Tl1e determma
                     • ('1011 of rest't
                                     1 u t'ton ts
                                               • d e1erre
                                                    c d un t'l1
                                                                  _
                                                                         . An Amended Judgment in a Crimihal Case
                                                                      __ entered
                                                                                                                           (AO   245C) will be

          after such determination.

          The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
          victims must be paid before the United States is paid.
                                                                                         Restitution
           Name of Payee                                       Total Loss**                                         Joint and Several
                                                                                          Ordered

           Elmer Byrd
           (address maintained confidentially)                    $ 5,000.00                $ 5,000.00

           Geneva Clements
           (address maintained confidentially)                    $ 2,500.00                $ 2,500.00

           James E. Jones, III
           (address maintained confidentially)                    $ 4,262.00                $ 4,262.00

           Edward Boegle
           (address maintained confidentially)                    $13,700.00                $ 13,700.00


           Subtotals
           (Continued on Page 8, Sheet 5B)                        $25,462.00                $25,462.00

D        Restitution amount ordered pursuant to plea agreement $
0        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
C8J      The court determined that the defendant doe; not have the ability to pay interest and it is ordered that:
         � the interest requirement is waived for the             O
                                                                  fine � restitution.
         D    the interest requirement for the        D fine       D restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount oflosses arc required under Chapters 109A, 110,        I JOA, and I 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996 ..
                     Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 7 of 8


      NDFL 245B (Rev. l l/! 6)    Judgment in a Criminal Case
                                  Sheet 5B - Criminal Monetary Penalties

                                                                                                Judgment�Page       7      of           8
 DEFENDANT:                      JAMES A. YOUNG, III
 CASE NUMBER:                    3: 19cr65-001/MCR

                                           ADDITIONAL RESTITUTION PAYEES

                                                                                       Restitution
          Name of Payee                                       Total Loss**                                      Joint and Sevei·al
                                                                                       Ordered

          Susan Gordon                                        $19,200.00               $19,200.00
          (address maintained confidentially)

          Joan Scheet
          (address maintained confidentially)                 $48,329.33               $48,329.33

          Raymond Kimberly Kutch
          (address maintained confidentially)                 $14,777.97               $ 14,777.97

          Mary E. Moore
          (address maintained confidentially)                 $14,000.00               $14,000.00

          Donna Geohagan on behalf of Hilda Geohagan
          (address maintained confidentially)                 $ 5,000.00               $5,000.00

          Donna Geohagan
          (address maintained confidentially)                 $5,000.00                $5,000.00

          Robert A. Althar
          (address maintained confidentially)                 $45,000.00               $45,000.00

          William and Sharon Allen
          (address maintained confidentially)                 $39,800.00               $39,800.00

          Patricia Ginn
          (address maintained confidentially)                 $6,200.00                $6,200.00

          Judy Sullivan
          (address maintained confidentially)                 $5,000.00                $5,000.00

          George and Sharon Hall
          (address maintained confidentially)                 $94,438.41              $94,438.41

          Dennie Ashby
          (address maintained confidentially)                 $80,000.00              $80,000.00

             Subtotals                                       $376,745.71             $376,745.71
            Amount from Page 7                               $ 25,462.00             $ 25,462.00

             TOTALS                                          $402,207.71             $402,207.71


Pursuant to 18 U.S.C. § 3664G)(l), of the Mandatory Victim Restitution Act, the judgment order should direct that the restitution owed be
paid to all of the other victims in this case before any payments are made to Wells Fargo Bank, National Union Fire Insurance Co of
Pittsburgh, PA and Travelers Casualty and Surety Company, as these entities are insurance companies.
                       Case 3:19-cr-00065-MCR Document 48 Filed 10/16/20 Page 8 of 8


NDFL 245B (Rev. 11/16)        Judgment in a Criminal Case
                              Sheet 6- Schedule of Payments

                                                                                                                   Judgment-Page _8_ of __ 8_
  DEFENDANT:                        JAMES A. YOUNG, Ill
  CASE NUMBER:                      3: 19cr65-001/MCR

                                                         SCHEDULE OF PAYMENTS

  Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

  A      cg]     Lump sum payment of:            $500.00      Special Monetary Assessment due immediately, and balance due


                 D        not later than   _  ____ _ _
                                          _ _ _          _
                                                                           , or

                 cg]     in accordance with � C, ·[8J D,                D     E, or   � F below; or

  B      □       Payment to begin immediately (may be·combined with                De,          DD, or D F below); or
  C      12;]    Payment in equal              monthly     (e.g., weekly, monthly, quarterly) installments of $   500.00
                                                                                                                  ---      -
                                                                                                                           �-
                                                                                                                                    over a period of
                     years        (e.g., months or years), to commence     1 month (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or within 1 months of the sentencing date re: Restitution due as to Counts 1 and 2

  D      0       Payment in equal            monthly    (e.g., weekly, moi1th/y, quarterly) installments of     $500.00             over a period of
                     years        to commence within                          1 month (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or ,vithin 1 months of the sentencing date re: Restitution due as to Counts 3, 4 and 5
                                                         ,
  E      D       Payment during the term of supervised release will commence within     _ ___ (e.g., 30 or 60 day.1� after release fi:om
                                                                                          _
                 imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

  F      [:g'J   Special instructions regarding the payment of criminal monetary penalties:

                 Total Restitution is $527,315.04. This consists of Restitution as to Counts l and 2 in the amoullt of$402,207.71 (less payment
                 of$75,000.00 received on 9/24/2020), and Restitution also ordered as to Counts 3, 4 and 5, due to the IRS in the amount of
                 $125,107.33.


  Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties Is due
  during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
  Inmate Financial Responsibility Program, are made to the clerk of the court.

  The defendant shall receive credit for all payments previously made toward any criminal monetary pcnaltie.s imposed.

  0      Joint and Several




  D      The defendant shall pay the cost of prosecution.

  D      The defendant shall pay the following court cost(s):

  D     The defendant shall forfeit the defendant's interest in the following property to the United States:

  Payments shall be applied in the following order: (1,) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
  interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
